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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                   ORDER

         As discussed at the hearing on April 9, 2019, the issues raised by the parties’ letter briefs regarding

quashing the government’s subpoenas served on First Federal Bank in San Francisco, California, and Eagle

Bank in Bethesda, Maryland, require full briefing. Accordingly, it is hereby

         ORDERED that the A/E/L Claimants shall file their motion to quash on or before April 19, 2019.

It is further

         ORDERED that the government shall file its opposition on or before May 3, 3019. It is further

         ORDERED that the A/E/L Claimants shall file their reply on or before May 10, 2019.



         SO ORDERED.
                                                                     Digitally signed by G.
                                                                     Michael Harvey
                                                                     Date: 2019.04.09 14:35:06
Dated: April 9, 2019                               ___________________________________
                                                                     -04'00'
                                                   G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE
